
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                                 ____________________

          No. 96-1280


                   OLYMPO TRANSPORT COMPANY OF PUERTO RICO, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                     CERTAIN INSURANCE COMPANIES AT THE INSTITUTE
                           OF LONDON UNDERWRITERS, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                                        ERRATA

               The  published opinion of this  Court issued on December 30,
          1996, is amended as follows:

               Cover sheet:  delete the [Hon. Carmen Consuelo Cerezo,  U.S.
                                                                       ____
          District Judge] and insert the [Hon. Salvador E. Casellas] in its
          ______________
          place.






































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-1280

                 OLYMPO TRANSPORT COMPANY OF PUERTO RICO, INC. ET AL,

                               Plaintiffs, Appellants,

                                          v.

                         CERTAIN INSURANCE COMPANIES AT THE 
                      INSTITUTE OF LONDON UNDERWRITERS, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                             [Hon. Salvador E. Casellas]

                                 ____________________

                                        Before

                      Coffin and Campbell, Senior Circuit Judges,
                                           _____________________

                             and DiClerico,* Chief Judge.
                                             ___________

                                 ____________________

            Paul  E.  Calvesbert,   with  whom  Jose  E.  Alfaro-Delgado   and
            ____________________                ________________________
        Calvesbert, Alfaro &amp; Lopez-Conway were on brief for appellants.
        _________________________________
            Edward M.  Cuddy, III, with whom  James W.  Carbin, Christopher B.
            _____________________             ________________  ______________
        Turcotte, and Kroll &amp; Tract were on brief for appellees.
        ________      _____________

                                 ____________________

                                  December 30, 1996
                                 ____________________







                            
        ____________________

        *Of the District of New Hampshire, sitting by designation.















                      CAMPBELL, Senior Circuit Judge.  Plaintiffs are two
                                ____________________

            non-vessel operating common carriers and an insurance carrier

            who have sued in  the district court to recover  insurance on

            account of damages allegedly suffered from the loss overboard

            of several cargo containers that  were being carried by barge

            from Jacksonville,  Florida, to San  Juan, Puerto Rico.   The

            barge and tug were  operated by Ocean Line of  North Florida,

            Inc.  ("Ocean Line"), a  now defunct  shipping company.   The

            principal defendants, from whom plaintiffs seek recovery, are

            the  issuers  of an  open marine  cargo insurance  policy for

            Ocean Line.  The case was tried in the United States District

            Court for the  District of  Puerto Rico.   The court  entered

            judgment  for  the  defendant insurers  and  plaintiffs  have

            appealed.

                      We  affirm the  judgment below.   We  are satisfied

            that the findings  of the district court, as set forth in its

            Opinion  and Order, are  not clearly erroneous,  and that its

            conclusions  and   legal  analysis  therein   are  materially

            correct.  This being so  we see no need to go  over in detail

            the  same  ground  comprehensively covered  in  the  district

            court's  own opinion.  Instead, we limit ourselves to a brief

            discussion of the controlling issues.

                      In  their direct action  on the  policy, plaintiffs

            have sought to establish  that    notwithstanding the absence

            of  affirmative requests  from shippers  that their  goods be



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            insured       the   policy's  coverage   was  "automatically"

            available to all  shippers.  In support of  this proposition,

            plaintiffs offered evidence at trial  of a "custom and usage"

            in the Puerto Rico-United States trade for ocean carriers  to

            provide insurance automatically up to certain limits, without

            a  shipper having  to affirmatively  request coverage  at the

            time of  entrusting his  goods to  the carrier.   Defendants,

            however, sharply disputed  this contention, and the  district

            court  found, on  the conflicting  proofs, that there  was no

            such custom  and  usage.   We  see  no clear  error  in  that

            finding.   The  court also  expressed  doubts as  to  whether

            custom and  usage evidence,  such as  it was,  could override

            Ocean Line's announced policies on the matter.

                      Plaintiffs argue that, apart from custom and usage,

            coverage is manifest from the language of the  policy itself.

            They  disparage as immaterial  Ocean Line's published tariffs

            and its  bills of  lading, which contained  specific language

            requiring shippers to first  request insurance if they wished

            to  obtain  it.     Instead,  plaintiffs  urge  us   to  rely

            exclusively  on the insurance  policy itself.   But, like the

            district court, we find little support in the policy language

            for plaintiffs'  position.  The definition of  assured in the

            insurance  policy   includes   Ocean  Line   and   associated

            companies,  "and/or for  whom  they received  instructions to

            insure."    Express  shipper's  instructions  to  insure  are



                                         -4-















            lacking here,1 and  we see  no reliable basis  from which  to

            infer that  such instructions  were given.   The tariffs  and

            bills  of lading  specifically call  for shippers  to provide

            explicit  instructions if  they wish insurance.   It  is true

            that  one section of the tariffs indicates that "the rates in

            this tariff include insurance," and the parties seem to agree

            that a  shipper would  have been  entitled to free  insurance

            (i.e. with  Ocean  Line to  pay  the premium),  but  disagree

            whether the free insurance was "automatic" or had first to be

            requested, and the  cargo value  stated, as  the tariffs  and

            bills of lading provide.  Nothing in the policy itself states

            that all  shipments are to  be automatically insured;  to the

            contrary, the  policy definition of assureds   suggests quite

            the  opposite,  as does  the  evidence  of Ocean  Line's  own

            practices and methods for paying premiums prior to  the loss.

            As  we say,  we find  no  indication of  clear  error in  the

            district  court's  findings  and  factual  conclusions, which

            appear well-supported on this record.  We can only agree with

            the court that plaintiffs  have failed to establish  that the






                                
            ____________________

            1.  Transcaribe tendered  pro forma  bills of lading  late in
            the district  court proceedings which it  says manifested the
            shipper's  requests  for  insurance.    The  district  court,
            expressing  doubts as  to these  documents' authenticity  and
            credibility, found this late-filed evidence  was insufficient
            to establish that proper requests were made.  Infra.
                                                          _____

                                         -5-















            cargo,  for the loss of which  they are claiming, was in fact

            insured under the policy in question.2

                      As  noted in  Note 1,  there was  a dispute  at the

            trial  concerning the weight to be given to certain pro forma

            bills of lading submitted as evidence very late in the day by

            Transcaribe.   Transcaribe argued  that these  indicated that

            coverage  had,   in  fact,   been  requested,   although  the

            documentary evidence was far from  being clear or uniform  in

            this respect.  The district court's disposition of this issue

            is  explained in its Opinion and Order.  The district court's

            evaluation  and handling  of  this evidence  was not  clearly

            erroneous  and was  within its  reasonable discretion  in the

            circumstances of this case.

                      Affirmed.
                      ________















                                
            ____________________

            2.  The plaintiffs call  our attention to  several translated
            Puerto  Rico cases  and  to one  Second  Circuit case,  Estee
                                                                    _____
            Lauder  International,  Inc.  v. World  Wide  Marine Service,
            ____________________________     ____________________________
            Inc., 923  F.2d  238 (2d  Cir.  1991).   We  agree  with  the
            ____
            defendant insurers that these  cases are either irrelevant to
            the   contested  issues   in   this  case   or  are   readily
            distinguishable and thus are not dispositive.

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